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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PANAMA CITY DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,
v.                                             CASE NO. 5:11-cr-23-RS-GRJ

FRANK EBEN GULLET, JR.,

          Defendant.
_________________________________/

                                       ORDER

       Before me is the Magistrate Judge’s Report and Recommendation (Doc.

520). No objections have been filed.

       IT IS ORDERED:

             1.     The Magistrate Judge’s Report and Recommendation is

                    approved and incorporated in this Order.

             2.     Plaintiff’s Motion to Vacate (Doc. 496) is DENIED without

                    prejudice for failure to comply with an order of the court..

             3.     The clerk is directed to close the civil case.

       ORDERED on May 30, 2012.

                                        /S/ Richard Smoak
                                        RICHARD SMOAK
                                        UNITED STATES DISTRICT JUDGE
